Case No. 1:22-cv-01129-NYW-SKC Document 244 filed 01/11/24 USDC Colorado pg 1 of 5




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No.1:22-cv-01129

   ERIC COOMER, PH.D.,

           Plaintiff,

   v.

   MICHAEL J. LINDELL, FRANKSPEECH, LLC,
   AND MY PILLOW, INC.,

           Defendants.



      DEFENDANTS’ RENEWED UNOPPOSED MOTION FOR LEAVE
    TO FILE REDACTED DOCUMENTS PURSUANT TO MINUTE ORDER
                         [ECF NO. 243]

           Pursuant to D.C. Colo.LCivR 7.2, Defendants move the Court for an Order

   granting leave to file modestly redacted documents to replace documents filed in

   Plaintiff’s Submission of Exhibits in Support of His Omnibus Response to

   Defendants’ Omnibus Motion for Summary Judgment Filed Under Seal [ECF No.

   236].

           The grounds for Defendants’ motion meet the factors set forth in Local Rule

   7.2 as follows:

           1.     The identity of the documents for which restriction is sought and a

   summary of what each contain are:


                                              1
Case No. 1:22-cv-01129-NYW-SKC Document 244 filed 01/11/24 USDC Colorado pg 2 of 5




                  a. ECF 236-1 – Ex. 19 contains private email addresses

                  b. ECF 236-2 – Ex. 23 contains confidential information of
                     MyPillow

                  c. ECF 236-3 – Ex. 24 also contains confidential information of
                     MyPillow

                  d. ECF 236-4 – Ex. 25 contains a personal email address of
                     Dennis Montgomery

                  e. ECF 236-5 – Ex. 30 contains confidential information
                     regarding sensitive audience and website analytics

                  f. ECF 236-6 – Ex. 31 contains private email addresses

                  g. ECF 236-7 – Ex. 34 contains private email addresses and
                     phone numbers

                  h. ECF 236-8 – Ex. 35 contains private email addresses

                  i. ECF 236-9 – Ex 36 contains private email addresses and phone
                     numbers

                  j. ECF 236-10 – Ex. 37 contains names and personal information
                     about Defendants’ employees

                  k. ECF 236-11 – Ex. 38 contains private email addresses and
                     email mailbox passwords for three accounts

                  l. ECF 236-12 – Ex. 39 contains bank account numbers and
                     private email addresses

                  m. ECF 236-13 – Ex. 40 contains private phone numbers and
                     email addresses

                  n. ECF 236-14 – Ex. 41 contains confidential business and
                     financial information



                                          2
Case No. 1:22-cv-01129-NYW-SKC Document 244 filed 01/11/24 USDC Colorado pg 3 of 5




                    o. ECF 236-15 – Ex. 44 contains private phone number and email
                       addresses

         2.     The interest Defendants seek to protect are privacy and personal

   safety interests concerning both business and personal information. Personal

   emails and phone numbers of Defendants, Defendants’ employees or other

   personal relationships should not be subject to public disclosure especially given

   the high-profile nature of this case that has garnered more attention than average as

   this Court has observed in its prior orders.

         3.     Maintaining the privacy of personal and business information

   outweighs the presumption of public access because if this information were to be

   made public, there is a high risk that bank accounts, names, and email accounts

   may be hacked or unlawfully used, email accounts and telephone numbers placed

   on spam lists, the perpetuation of fraud using the names and email addresses in the

   documents, and a disclosure of confidential business analytics placed into public

   view and Defendants’ competitors who would gain an unfair advantage.

         4.     The information that Defendants propose be redacted has no bearing

   on the Motion for Summary Judgment or this case and militates against public

   access. The requested redactions to the exhibits will adequately protect the

   interests in question without engaging in wholesale redactions or affecting the

   “heart of the issues” in this litigation. In re Syngenta AG MIR 162 Corn Litig., No.

   14-md-2591-JWL, 2015 WL 3440476, at *2 (D. Kan. May 28, 2015) (denying

                                              3
Case No. 1:22-cv-01129-NYW-SKC Document 244 filed 01/11/24 USDC Colorado pg 4 of 5




   request to file complaint under seal because “allegations go to the ‘heart of the

   issues’” and “are undoubtedly relevant to the public’s understanding of this

   litigation and evaluation of the legal process”). The proposed redactions would not

   impact the public’s understanding of this litigation or its evaluation of the legal

   process.

         5.     Finally, Defendants seek an order from this Court which continues the

   extant restrictions on the 236 documents but only as they pertain to the specifically

   proposed redactions. The proposed redactions are filed with this motion.

         Defendants respectfully request the entry of an Order (a) granting the

   proposed restrictions on the Subject Documents and (b) directing the parties to file

   redacted documents replacing the Subject Documents, (c) and that restrictions on

   the Subject Documents, as modified by these newly filed redacted documents, be

   removed.

         January 11, 2024

                                           Respectfully submitted,

                                           /s/ Christopher I. Kachouroff
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                                              4
Case No. 1:22-cv-01129-NYW-SKC Document 244 filed 01/11/24 USDC Colorado pg 5 of 5




                             CERTIFICATE OF SERVICE

         I hereby certify that on January 11, 2024 I electronically filed the foregoing

   with the Clerk of the Court using the CM/ECF system which will send notification

   of such filing to the following email addresses:

     zbowman@cstrial.com

     ccain@cstrial.com

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                                          /s/ Christopher I. Kachouroff




                                             5
